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1 UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

4
Plaintiff,
5 : Case Number
vs. : 99-2496 (GK)

6

PHILIP MORRIS INCORPORATED,
7 et al.,
8 Defendants.

ae ee eee x
9
io Washington, D.C.
11 Thursday, June 20, 2002
12
13 Videotape Deposition of:
14 J. HOWARD BEALES, IIf,
15 the witness, was called for examination by

16 counsel for Defendant R.J. Reynolds, pursuant to
17 notice, commencing at 9:09 a.m., at the law

18 offices of Collier Shannon Scott, PLLC, 3050 K

19 Street, Northwest, Suite 400, Conference Room 5,
20 Washington, D.C., before Dawn A. Jaques,

21 Certified Shorthand Reporter and Notary Public in
22 and for the District of Columbia, when were

23 present on behalf of the respective parties:

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2 4
1 APPEARANCES: I PROCEEDINGS
2 On behalf of the Plaintiff: 4
3 DAVID S.KLONTZ.ESQ. 2 THE VIDEOGRAPHER: This is the
4 United States Department of Justice 3 deposition of Howard Beales, noticed by
Commercial Litigation Branch 4° Defendant, in case number 99-2496 (GR), entitled
5 1100 L Street. NW. is . wy .
Room 10016 5 United States of America v. Philip Mortis
6 Cor sthone. 20530 6 Incorporated, et al., the United States District
7 : the District of C ia.
On behalf of Defendant R.J. Reynolds: 7 Court for $ ° Columbia
8 8 My name is Brian Halma, and J am the
9 JEFEREY A RAUFEMAN ERO. 9 certified legal video specialist operating the
- JOHN WILLIAMS, ESQ. i i iti
\0 Colley Shane Seok LLC 10 equipment for this deposition. I am employed by
3050 K Street. N.W. li Spherion.
1 Suite 4 : we : :
Wachawton. DC. 20007-8108 12 This deposition is being taken on
12 (202) 342-8811 7007
3 On behalf of Defendant Philip Mortis: 13 Thursday, June 20th, 2002, at the offices of
i KEVIN M. GREEN, ESQ, 14 Collier Shannon Scott, 3050 K Street, Nomhwest,
Id & Pr . . . oe
15 See Tweitth Seeet, NW. 15° Washington, D.C., at the time indicated at the
te Con eed DG 20004-1206 16 lower portion of the television screen. The time
i? ALSO PRESENT: 17 on the screen is 9:09:07.
18 JOHN ANDREW SINGER. ESQ. :
United States Federal Trade Commission 18 I will now ask counsel to please
19 Olfice of the General Counsel j i indi i
600 Pennsylvania Avenue, NW 19 identify themselves and indicate the parties they
20 Washington. D.C. 20580 20 represent.
(202) 326-3234 -
7 24 MR. MacLEOD: I am Bill MacLeod,
Dae ROSER LE Ph.D. Economist 2? representing R.J. Reynolds. With me this morning
Georgetown Economic Services. LLC 23. is Jeff Kauffman and Robert Fenili,
23 3030 K Street, NW. ; roe
Washington. D.C. 20007-3108 24 MR. GREEN: [ am Kevin Green on behalf
3 (202) 45-6677 25 of Philip Morris.
3 5
l [-N-D-E-X I MR. KLONTZ: David Klontz, United
2 WITNESS: PAGE: 2 States Deparment of Justice
304. HOWARD BEALES - 3 MR. SINGER John Andrews Singer from
4 Direct Examination by Mr. MacLeod ? 4 the Federal Trade Commission, and | would just
5 Cross Examination by Mr. Klontz 39 . € recor ° © , uv
6 Redirect Examination by Mr. MacLeod 70 3 dike to emphasize that Dr Beales ts here in his
7 6 = private capacity, but | am representing whatever
8 -000- 7 imerests the FTC may have to the extent there
9 . . . .
8 might be questtoning about his current capacity
10 E-X-H-L-B-L-T-S > ahiewe pe
11 BEALES DEPOSITION EXHIBIT: PAGE: with the
12) No.1] June IL. 2001 FTC press release .... 6 10 THE VIDEOGRAPHER. The count reporter,
13) No.2 Curriculum Vitae of J. Howard Beales 7 11 Dawn Jaques from Spherion. «ill administer the
I4 No.3) April 3. 1992 letter to Lois Greisman 12 oath to the witness.
from J, Howard Beales attaching 13. Whereupon
15 evaluation of JAMA articles ........ 16 , ete
16 No.4) White paper. “Advertising and the 4 1, HOWARD BEALES. IIL.
Determinants of Teenage Smoking 15) was called as a witness and, after having been
17 Behavior" 0000 19 16 first duly swom by the Notan Pubtic. was
18 No.3 May 10. 1993 letter to Judith Oldham 17 examined and testified. as follows
from Judith Wilkenfeld attaching 18 DIRECT EXAMINATION BY COUNSEL FOR RJ. REYNOLDS
19 draft Complaint and Order .......... 20
20 No.6 March 2. 1994 letter 10 Judith Oldham 19 BY MR. MacL EOD
irom Judith Wilkenfeld attaching 20 -Q ~=Good moming. Dr Beales
21 revised draft Complaint and Order .. 23 21 A. Good meming.
22 No.7 “Presentation of RJ. Reynolds Tobacco 0 Q You have been deposed before. |
Company Concerning the Marketing of 23 believe. Is there any question that you have
23 Camel Cigarettes” oo. 24 ~ ya ;
24 No.8 June 7. 1994 press release ........ 33 24° regarding the deposition today before we begin”
250 No.9 Respondent's Final Witness List... 36 23 A I don't think so

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? (Pages ? to 5)
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8
! Q. Okay, good. Let me begin by asking you i the salient points on the curriculum vitae
2 for your full name for the record, please. 2 leading up to the work experience indicated 1988
3 A. lam J. Howard Beales the Third. 3 to present. Could you do that for me?
4 Q. And your curtent position? 4 MR. KLONTZ: Objection.
3 A. I'm the Director of the Bureau of 5 THE ‘VITNESS: [ was -- [ received my BA
6 Consumer Protection at the Federal Trade _ 6 degree from Georgetown University in 1972. [
7 Commission. 7 graduated magna cum laude, Phi Beta Kappa, with a
8 MR. MacLEOD: I'd fike to mark & major in economics. I got my Ph.D. in economics
9 Exhibit 1 for identification. 9 from the University of Chicago in 1978, and most
10 (Beales Deposition Exhibit No. | 10 recently, before going to the FTC, I was the
li was marked for identification.) 11 associate professor of strategic management in
12 BY MR. MacLEOD: 12. public policy at George Washington University.
13 Q. Dr. Beales, do you recognize this 13 Do you want me to go through the rest
14 document? 14 of it, or -- :
15 A. ido. i5 BY MR. MacLEOD:
16 Q. Can you describe what this document is i6 Q. Can you describe in some more detail
-17 saying? 17 the positions that you held prior to your
18 A. It's a press release announcing my 18 position of professor at George Washington
19 appointment as Director of the Bureau. 19° University?
20 Q. This press release states that 20 A. [was the chief of the Human Resources
21 J. Howard Beales, Director of the Bureau of 21 and Housing Branch at the Office of Information
22 Consumer Protection, previously served at the 22 and Regulatory Affairs at the Office of
23° Commission from 1977 to 1987 in positions ranging 23° Management and Budget. | held that position for
24 from Associate Director for Policy and 24 about a year and was in charge of reviewing rules
25 Evaluation, Acting Deputy Director, and Assistant 25s under the executive order on costs and benefits
9
1 to the Director in the Bureau of Consumer 1 of regulation.
2 Protection to economist in the Bureau of 2 Prior to that, | was the Associate
3 Economics. During his tenure, he was 3. Director for Policy and Evaluation tn the Bureau
4 instrumental in developing Commission policies 4 of Consumer Protection at the FTC from August of
5 that prevail today including, the Deception 5 ‘83 to Aine of '87. The Associate Director for
6 Policy Statement, the Advertising Substantiation 6 Policy and Evaluation was essentially in charge
7 Policy Statement. He was also instrumental in 7 of review of case selection for the Bureau of
8 developing the Credit Practices Rule. Most 8 Consumer Protection at the time. | also served
9 recently, Beales was an associate professor of 9 as Acting Deputy Director of the Bureau of
10 strategic management and public policy at The 10 Consumer Protection from October of '85 to July
Il George Washington University." 1] of 86.
J2 Is that an accurate statement of your 12 Prior to the Policy and Evaluation
13 background at the Federal Trade Commission? 13 post, | was an assistant to the Director in the
I4 A. Yes, it is. 14 Bureau of Consumer Protection from November of
15 MR. MacLEQOD: I'd like to mark Beales 15 ‘81 to August of 1983; and prior to that, [ was
16 Exhibit 2 for identification. 16 an economist in the Bureau of Economics working
17 (Beales Deposition Exhibit No. 2 17 on both some research and on consumer protection
18 was marked for identification.) 18 matters.
19 BY MR. MacLEOD: 19 Q. Without describing any information that
20 Q. Dr. Beales, do you recognize the 20 is priviteged under any privilege the Commission
21 document that has been marked as Beales 2] might assert, can you describe in some more
22 Exhibit 2? 22 details the responsibilities that you held while
23 A. Ido. it's my resume. 23 at the Federal Trade Commission?
24 Q. What I would like to do ts to ask you 24 MR. SINGER: I'm going to object, but
25 to describe for us, starting with your education, 25° you may answer.

3 (Pages 6 to 9)

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10 12
1 THE WITNESS: In which position? 1 THE WITNESS: It was in the form ofa
2 BY MR. MacLEOD: 2 letter to Congressman Dingle analyzing the
3 Q. Starting with the position that you 3 Commission's deception jurisdiction and
4 last held at the Federal Trade Commission. 4 articulating the criteria that the Commission
5 A, The Diviston of Policy and Evaluation 5 used to determine whether an act or practice is
6 reviewed recommendations for the Bureau Director 6 deceptive.
7 on investigations that the staff wanted to pursue 7 BY MR. MacLEOD:
8 of unfair deceptive practices and made a 8 Q. What was the Substantiation Policy
9 recommendation to the Bureau Director about 9 Statement? :
10 whether that was an investigation that should go 10 MR. SINGER: Objection. You may
11 forward or not. El answer.
12 It similarly made recommendations on 12 THE WITNESS: The Substantiation Policy
13. whether or not the staff should be authorized to 13 Statement was a Commission federal register
14 engage in consent negotiations in a particular [4 notice that resulted from the review of the
15 case; and it also handled broader policy issues, 15 substantiation program, and articulated the
16 such as the development of the Commission's t6 Commission's policy on the amounts of evidence
-17 Deception Policy Statement and its policy 17 that would be required to constitute a reasonable
{8 statement on advertising substantiation. 18 basis.
19 Q. As Acting Director, can you describe Lo BY MR. MacLEQOD:
20 your responsibilities? 20 Q. Did you receive any awards or
21 A. Well, jointly with the Bureau Director, 2L recognitions while at the Federal Trade
22 [essentially managed the Bureau's staff of -- at 22 Commission?
23 the time, it was about 145 lawyers. | was 23 A. I did. l received an award for
24 primarily responsible for law enforcement 24 excellence while f was an assistant to the
25 activities that involved consumer credit or 25 Director. Treceived the Commission's award for
I 13
i marketing practices, and also energy advertising. 1 distinguished service in 1987, and I received
2 1 had primary responsibility for rule 2 Senior Executive Service awards for management in
3 making activities, rule making proposals and 3 1984 and 1986.
4 reviews of existing rules, and managed the 4 Q. Can you describe your responsibilities
3 consumer protection activities in the FTC's 5 at the Office of Management and Budget?
6 regional offices. 6 A. The branch handled all transactions
? Q. And as assistant to the Director? 7 with, |} think it was five different cabinet
8 A. It was particular projects as assigned. 8 agencies: Labor, HHS, Housing and Urban
9 lL assisted in the review of proposed definition 9 Development, Treasury, and some smaller agencies.
10 of deceptive acts or practices, including the 10 [t was responsible for approving Agency
il proposed statutory definition, and also the 11 paperwork requests under the Paperwork Reduction
t2 beginning stages of the FTC's Deception Policy 12 Act. It was responsible for reviewing proposed
13 Statement was done while | was an assistant to {3 and final rules under the executive order that
14 the Director. 14 required regulations to have benefits in excess
15 [ had primary responsibility for 15 of their costs to the extent possible.
{6 supervising the review of the Commission's 16 @. What was your role in these activities?
17 advertising substantiation doctrine. I assisted 17 A. I was the branch chief supervising the
[8 in developing evidentiary standards for rule 18 work of a group of desk officers. They would
19 makings, and applied those standards in 19 come to me with recommendations, In some cases,
20 particular rule makings involving food 20 they were decisions that § could make on my own,
21 advertising and the Credit Practices Rule. 21 as in most of the paperwork matters; in other
22 Q. What is the Commission's Deception 27 cases, we formulated a recommendation to the
23 Policy Statement? 23 administrator of OIRA, who made the final
24 MR. SINGER: Objection. You may 24 decision.
25 answer. 25 Q. Without divulging any privileges that

4 (Pages 10 to 13)

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14 16
1 the Commission would assert, can you describe for | | (Beales Deposition Exhibit No. 3
2 me any role that you had in reviewing tobacco 2 was marked for identification.)
3. advertising or marketing practices while at the 3 BY MR. MacLEOD:
4. Commission? 4 Q. Dr. Beales, do you recognize the
5 MR. SINGER: Objection. You may 5 document marked as Beales Exhibit 3 for
.& answer. _ 6 identification?
7 THE WITNESS: I was involved in several 7 A. ido. {t's the paper | prepared in
8 cigarette matters. | was involved in the 8 evaluating the SAMA articles.
9 recommendation for rotational wamings that the 9 Q. Can you describe ina little more
10 FTC made in -- or that the Bureau Director made 10 detail the conclusions that you reached and
1] in the -- | guess it was about 1982. if} recorded in that document?
12 I was involved in the approva! of the 12 MR. KLONTZ: Objection.
13 plans for rotational warnings that companies had 13 MR. SINGER: I'l! object as wetl, but
14 to submit once that statute was enacted. 14. you may answer. -
15 | was involved in the review of the tar 15 THE WITNESS: Fundamentally, |
16 and nicotine measurement system in the 16 concluded that the JAMA studies provide no basis
. .{ 17...investjgation of Barclay cigarettes that led to 17 for inferring a causal relationship between
18 the FTC's case against Brown & Williamson. | 18 advertising and the decision to smoke.
19 mean, any tobacco advertising matter that the 19 BY MR. MacLEOD:
20 Commission did at that time would have been -- 20 Q. Did you draw any other conclusions from
21 while | was Associate Director for Policy and 2f that?
22 Evaluation would have been something that would | 22 MR. SINGER: Objection. You may
23 have come through my office. 3 answer,
24 BY MR, MacLEOD: 24 THE WITNESS: [concluded that the
25 Q. After you left the Office of Management 25 studies drew erroneous inferences from the
15 7
| and Budget, did you have occasion to study 1 available data: that they used inadequate
2 advertising issues in tobacco again? 2 measures tn order to try to examine the effects
3 A. Idid. 3. of advertising,
4 Q. Do you recall what occasion that was? 4 i would have to review it in more
5 A. I consulted on a number of cigarette 3 detail or find the conclusions to tell you more
6 matters, including most prominently the Joe 6 about what [ concluded at the time,
7 Camel -- the FTC's investigation of Joe Camet. 7 I thought ihe studies were consistent
8 Q. Can you describe how your involvement 8 with other marketing evidence that teens are more
9 in that began? 9 attentive to advertising for a variety of
10 A. Iwas contacted by Collier Shannon 10 products than adults and not sufficient to
li shortly after a series of articles appeared in 1} provide evidence of a causal relationship between
12 the Jounal of the American Medical Association 12 advertising and smoking decisions, or the Camel
13 that were critical of the Joe Camel advertising 13 advertising campaign in particular and smoking
14 campaign and asked to review those articles. id decisions.
15 Q. Did you conduct that review? 15 BY MR. MacLEQOD:
16 A. Idid. 16 Q. Did you communicate these views to the
17 Q. Did you draw any conelusions from your 17 Federal Trade Commission?
18 review? 18 MR. KLONTZ: Objection.
19 A. [wrote an analysis of the articles “19 THE WITNESS: Yes, I did. The paper
20 that concluded that -- basically that the 20 ~was submitted to the FTC, and there were at Jeast
21 articles didn't provide a basis for thinking that 2! acouple of meetings with the FTC staff to
22 the Joe Camel advertising campaign caused any 22 discuss the articles and the problems that I saw
23 particular problem. 23 with them,
24 MR. MacLEOD: Fd like to mark this 24 BY MR. MacLEOD:
73 next exhibit for identification. 25 Q. What happened at those meetings?

5 (Pages 14 to 17)

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18 20
l A. I presented my conclusions, answered | advertising and determinants of teenage smoking
2 their questions, and left, ‘2 behavior.
3 Q. The staff had questions for you? 3 Q. Is this the report that you just
4 A. [believe they did. [can't recall in 4 described?
5 detail. 5 A. Yes, I believe it is.
6 Q. Do you recall what happened after those 6 Q. Was this report submitted to the
7 meetings? 7 Federal Trade Commission?
8 A. Well, what I did after those meetings 8 A. There were different versions, slightly
9 was Reynolds obtained the underlying data from 9 different versions at different times. | believe
10 one of the JAMA studies, the Pierce study, was 10 this report was submitted to the FTC.
{ft from the California Tobacco Survey in 1990, and li Q. What was the context in which that
12 Reynolds provided me with data on advertising 12 report was submitted to the FTC?
13 expenditures in different regions of California. 13 MR. KLONTZ: Objection.
14 I used that data to prepare an analysis 14 THE WITNESS: The staff was again
15 of the factors that lead teenagers to smoke 15 interested in pursuing the Joe Camel advertising
16 cigarettes, and to examine the role of 16 campaign, and the paper was presented to the FTC
17 --advertising in that decision. 17° as part of that investigation im response to that
18 Q. Can you tell me what you concluded as a 18 investigation.
19 result of that analysis? 19 MR. MacLEOD: Id like to mark this as
20 MR. SINGER: Objection. You may 20 the next exhibit.
21 answer. 21 (Beales Deposition Exhibit No. 5
22 THE WITNESS: [ concluded that there 22 was marked for identification.)
23 was no evidence that advertising caused or 23 BY MR. MacLEOD:
24 significantly influenced teenage smoking 24 Q. Dr. Beales, do you recognize the
25 decisions. 25 document that is marked as Beales Exhibit No. 5?
19 21
1 BY MR. MacLEOD: 1 A. Ido. It's a draft of the FTC's
2 Q. Were there any other conclusions that 2 complaint from -- or proposed complaint, the
3. you drew? 3 staff's proposed complaint from 1993.
4 MR. SINGER: Objection. You may 4 Q. Did you have any role in responding to
3 answer. § that draft complaint?
6 MR. KLONTZ: Objection also. 6 MR. KLONTZ: Objection.
7 THE WITNESS: There may have been. 7 THE WITNESS: I did. [assisted in the
8 That was certainly the -- well, | drew 8 preparation of the white paper addressing the
9 conclusions about the factors that do influence 9 complaint and the facts in the investigation, and
10 kids to smoke. 10 1 met with the staff in presenting both the white
I The most important factor that 11 paper and the results of my own work on teenage
12 influences a teenager smoking decisions is the 12 smoking, and I met with the commissioners towards
13 behavior of their peers. The influence of 13 that same end.
14 siblings who smoke is also important. Smoking 14 BY MR. MacLEOD:
15 decisions respond to teens’ perceptions of the 15 Q. Do you recall what you presented to the
16 benefits and risks of smoking, and those are the 16 staff and the commissioners?
17 primary factors that influence smoking decisions. 17 A. Basicaily I presented the conclusions
18 MR. MacLEOD: I'd like to mark this as 18 of my empirical work and the work itself.
19 the next Beales exhibit. 19 Q. Was there any particular allegation in
20 (Beales Deposition Exhibit No. 4 20 the complaint to which you were addressing your
21 was marked for identification.} 21 presentations?
22 BY MR. MacLEOD: 22 A. Well, the fundamental allegation in
23 Q. Dr. Beales, do you recognize the 23 this particular version of the complaint was that
24 document marked as Beales Exhibit 4? 24 the advertising campaign appealed to children and
25 A. Edo. I's a paper I wrote on 25 adolescents below the 18, with the result that

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6 (Pages 18 to 21)

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22 24
{many of those children and adolescents did begin | disproportionate appeal theory and alleges that
2 to smoke Camel cigarettes, and that was precisely 2 the choice of many of these children and
3 the question that my research had addressed and 3 adolescents to smoke Camel cigarettes was also a
4 found no such relationship. 4 choice to begin smoking.
5 Q. Did that complaint ever issue a5 a 5 BY MR. MacLEOD:
6 formal complaint from the Federal Trade 6 Q. Did you perform any work in connection
7 Commission? 7 with the allegations raised in this draft
8 A. Itdid not. The Commission determined 8 complaint?
9 to close the investigation. 9 MR. KLONTZ: Objection.
10 Q. After you had your meetings discussing 10 MR. SINGER: Object to form.
1 that draft complaint, what did you do next, if It THE WITNESS: I did. I'm not -- 1
12 anything, in the context of tobacco advertising? 12. believe this was part of essentially the same
13 A. Well, at some point, I'm not sure 13 investigation as the 1993 one, although I'm not
14. whether it was before or after, | think it was [4 clear about the timing of when it was closed and
15 probably before the appearance of the draft 15 then reopened, but -- and the white papers -- I'm
16 complaint, I had submitted my paper for 16 not sure about the timing of white papers,
-17 publication, and | had made various revisions and | 17 whether there was a separate white paper and
18 additional analyses of the data set in response 18 response to this complaint, or whether it was
19 to suggestions from referees and criticisms of 19 part of the same matter as the May 1993
20 the work. 20° complaint.
21 Q. Did you have any more encounters with 21 (Beales Deposition Exhibit No. 7
22 the Federal Trade Commission over cigarette 22 was marked for identification.)
23 advertising? 23 BY MR. MacLEOD:
24 MR. SINGER: Objection to form. You 24 Q. Do you recognize this document,
25 may answer. 25 Dr. Beales?
23 25
l MR. KLONTZ: Objection. l A. Ido. This was a presentation that
2 THE WITNESS: In, f believe it was in 2 Reynolds submitted to the Commission and to the
3 1996, the staff reopened the investigation of the 3 commissioners that was the basis for
4 Camel advertising campaign on a slightly 4 presentations to the commissioners about the 1994
5 different theory than articulated in this 3 version of the complaint.
6 complaint, and I again presented the results of 6 Q. Did you have a role in preparing this
7 my empirical work to the staff and to 7 document?
8 commissioners in response to that investigation. 8 A. [did. I conducted some of the
9 MR. MacLEOD: I'd like to mark this 9 statistical analyses that are included in it
10 next document Beales 6. 10 based on. | believe it was probably the
ll (Beales Deposition Exhibit No. 6 It preliminary TAPS I data at the time.
12 was marked for identification.) 12 Q. Lam going to ask a number of questions
13 BY MR. MacLEOD: 13. about this document, and if you would fike some
14 Q. Do you recognize the document that is 14 time to review it more fully before we go through
15 marked Beales Exhibit 6? 15 it, [ would be glad to take a break and allow you
16 A. Ido. This is the 1994 version of the 16 to do that.
17 staffs draft complaint. 17 MR. SINGER: Mr. MacLeod, if you
18 Q. Is this version different from the 1993 18 wouldn't mind, 1 wouldn't mind taking about a
19 version we just looked at? 19 two-minute break.
20 MR. KLONTZ: Objection. 20 MR. MacLEOD: Why don't we go off the
21 THE WITNESS: Yes, itis. The 1993 21 record.
22 version alleged that the advertising caused 22 THE VIDEOGRAPHER: We are going off the
23 children and adolescents to begin to smoke. In 23 record. The time on the screen is 9:45:55.
24 the 1994 version, the allegation is that -- if | 24 {A break was taken.)
25 could characterize it. | think this is the 25 VHE VIDEOGRAPHER: We are back on the

7 (Pages 27 to 25)

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——
26 28
[ record. The time on the screen is 9:58:07. “| teenage smokers, smoked. It indicates that Camel
2 BY MR, MacLEOD: 2 smokers don't smoke on any more days. {'m sorry,
3 Q. Dr. Beales, could you start at the 3 1 think that's Tab 3.
4 beginning of this document and explain the facts 4 Tab 4 iltustrates that Camel smokers
5 that are described in the document. 5 are more likely to smoke lights, Camel Light, as
6 MR. KLONTZ: Objection. 6 opposed to Mariboro smokers, who are more likely
7 MR. SINGER: Join in the objection. 7 to smoke Marlboro regular.
8 You may answer. 8 The next tab looks at the number of
9 BY MR. MacLEOD: 9 cigarettes per day for smokers of different -
10 Q. And let me rephrase the question. To 10 brands and illustrates that Camel underage
11 the extent that you have knowledge of the 11 smokers smoke fewer cigarettes per day.
12 information that is described in this document, 12 MR. KLONTZ: Which tab is that, please?
13 could you please describe for us the information 13 THE WITNESS: Tab 5.
id in your own words? i4 MR. KLONTZ: Thank you..
15 MR. KLONTZ: Objection. 15 THE WITNESS: Tab 6 looks at the number
16 MR. SINGER: Join in the objection. 16 of cigarettes smoked per day in a different way.
17 You may answer. 17 - it's based on a regression“analysis of the number
18 THE WITNESS: Jntab J ofthe document | 18 of cigarettes smoked per day and looks at the
19 goes through the different theories that the 19 calculated number of cigarettes without taking
20 staff had explored in the Joe Camel 20 into account advertising and with taking into
21 investigation, beginning with the theory of 71 account advertising, and shows that the
22 deliberate targeting, that was staff's review of 22 advertising -- or illustrates that advertising
23 the Reynolds documents didn’t support. 23 does not increase the number of cigarettes smoked
24 In 1997, its theory was based on the 24 per day.
25 JAMA articles, but those were discredited. 25 Tab 7 ts based on my analysis of the
27 29
] In 1993, its theory was based on 1 California and also the TAPS data on the factors
2 disproportionate sales and appeal, but -- to 2 that do influence teenage smoking behavior. The
3 teens as opposed to young adult smokers, but 3 most important influences are peer influences,
4 neither of those was consistent with the facts. 4 parental smoking, sibling smoking, perceptions of
5 And the 1994 complaint tried to plead 5 risks and benefits of smoking. The advertising
6 causation by alleging that it induced children 6 effects are illustrated, but they are not
7 and adolescents to begin smoking or significantly 7 significant.
8 increase the risk. 8 Tab 8 looks at several different
9 Tab 2 examines trends in smoking as 9 criticisms that the staff had advanced of my
10 revealed in the University of Michigan in-class 10 research, that 6 months of advertising wasn't
I! survey of high school seniors and in the TAPS I} 1E enough to reveal an effect, but | had also looked
12. study. The TAPS II data was preliminary data 12 at advertising over the whole 3-year period of
13 that was obtained. | believe, and like other 13. the Camel campaign and stilt found no effects.
14 household surveys, it shows significantly 14 The second criticism was that you could
15 different trends from -- and tevels of smoking 15 only detect the influence of the campaign among
i6 than shows up in school-based surveys. It argues | [6 teens who started smoking after the campaign, but
17 that lf there's no increase in smoking after the E71 fooked separately at teens who smoked their
18 campaign, as the TAPS II data would suggest 18 first cigarette before and after the campaign and
19 there’s not. then Camel couldn't of -- the Camel 19 found no influence of advertising in either case.
20 advertising couldn't have caused kids to smoke. 20 The third criticism was that Camel
31 The staff had advanced a theory that 21 smokers who had started since the campaign were
22 the advertising somehow influenced the intensity | 22 somehow uniquely susceptible, but the factors
23 of smoking, if not the fact of smoking. Tab 4 23 that account for teenage smoking decisions
24 examines one measure of intensity of smoking. 24 actually accounted better for the decisions of
25 which is how many days of the past 30 smokers. 25 Camel smokers who started after the campaign than

8 (Pages 76 to 29)

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7
30 32
1 they did for teens in general. | Tabs 4 and 5 for a moment, and I would like to
2 Tab 9 addresses another possible way 2 ask you whether the language in those two tabs
3 that advertising might have an influence, which 3. matches the charts in those two tabs?
4 is by influencing the perceived benefits of 4 MR. KLONTZ: Objection.
5 smoking. What it iliustrates is that -- and, 5 THE WITNESS: it does not. The text of
6 again, none of these effects -- I believe none of 6 Tab 4 should go with the chart of Tab 5, 1
7 these effects were statistically significant, but 7 believe, and the text at Tab 5 should go with the
8 Camel advertising in particular was not 8 chart at Tab 4.
9 associated with an increased perception of 9 BY MR. MacLEOD:
10 benefits. The one measure of benefits that was 10 Q. Do the charts in those two tabs reflect
11 related was smoking in social situations, but 1] work that you had done?
12 that benefit measure was actually associated with | 12 MR. KLONTZ: Objection.
13. areduction in smoking behavior. 13 THE WITNESS: Yes, they reflect
14 Tab 10 addresses the staff's notion 14 analyses that | had done in the TAPS II
15 that the decision to smoke Camel was also a 15 re-interview sample of people who had also been
16 decision to smoke cigarettes. It Jooks at teens 16 incluced in the TAPS I study.
17 who smoked their first cigarette in the year 17 These were preliminary data, I believe.
18 preceding the survey, and most of those teens [8 Reynolds obtained the data prior to its public
19 don't buy cigarettes, another chunk of them buy 19 release, and they had not been completely edited.
20 other brands, a smali fraction of them buy Camel. | 20 In the final TAPS II sample that was publicly
21 Tab Lt looks at in the same survey 21 released, you got essentially the same results.
22 Camel's share among young adult smokers, 18 to | 22 BY MR. MacLEOD:
23 22, at the time of the interview in [993, and 23 Q. Does the text in those two tabs
24 compares it to their share among 14 to 24 accurately reflect the charts but for the fact
25 17-year-old smokers in 1993, and shows Camel's | 25 that the charts are reversed in the two tabs?
31 33
1 share was virtually identical. Marlboro and 1 MR. KLONTZ: Objection.
2 Newport had slightly higher shares of underage 2 THE WITNESS: | believe it does.
3 smokers. 3 BY MR. MacLEOD:
4 Tab 12 looks at data from the DiFranza 4 Q. Was this document presented to the
5 study in the journal of the American Medical 5 Federal Trade Commission?
6 Association. itis an analysis of that data that 6 A. Yeah, this document was the
7 includes all of the respondents. The DiFranza 7 presentation that was made to commissioners on
8 data in the published version had omitted certain 8 April Ist and April Sth of 1994.
9 age groups. When all of those -- when all of the 9 Q. Do you recall what the Commission did
10 data is considered, what the appeal measures that 10 after these presentations with respect to the Joe
ii DiFranza used show is that the Camel advertising 1) Camel] campaign?
12 campaign had more appeal to young adult smokers | 12 A. I believe it was after these
13 than it did to people in the student sample. 13 presentations that the Commission voted te close
14 Tab 13 addresses a study of recognition 14 the investigation.
15 of the Camel logo, and what it illustrates is 15 (Beales Deposition Exhibit No. 8
16 that teens who associated the Camel logo with 16 was marked for identification.}
17 cigarettes had negative views of cigarettes, not \7 BY MR. MacLEOD:
18 positive views. 18 Q. Do you recognize the statements,
19 And Tab 14 argues that the prerequisite 19 Dr. Beales, that are on Beales Exhibit 87
20 of unfairness is to demonstrate substantial 20 A. [have seen them before, yes.
21° injury, and that states the conclusion that there 21 Q. Can you tell me what these statements
22 wasn't evidence of substantial injury in front of 22° are?
23 the Commission. 23 A. They are the statements by various
34 BY MR. MacLEOD: 24 commissioners upon explaining their reasoning and
35 Q. Dr. Beales, can [ask you to return to 25 the decision to close the investigation.

9 (Pages 30 to 33)

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34 36
1 Q. Could you read, please, the last l THE WITNESS: ! concluded that there
2. paragraph of the majority statement? 2 was still no evidence that the Camel advertising
3 A. The joint statement of Azcuenaga, Owen 3 influenced teenage smoking decisions.
4 and Starek? 4 BY MR. MacLEOD:
5 Q. Yes. 5 Q. Did you communicate these conclusions
6 A. "If intuition and concern for 6 tothe Federal Trade Commission?
7 children's health were a sufficient basis under 7 A. I did.
8 the law for bringing a case, we have no doubt 8g Q. What was the result of that subsequent
9 that a unanimous Commission would have taken that 9 investigation?
{0 action long ago. The dispositive issue here, 10 A. The Commission --
Tl however, was whether the record showed a link li MR. KLONTZ: Objection. Sorry.
12 between the Joe Camel advertising campaign and 12 THE WITNESS: The Commission voted to
[3 increased smoking among children, not whether 13 issue a complaint.
I4 smoking has an effect on children or whether the 14 BY MR. MacLEOD:
15 health of children is important. Indeed, our 15 Q. Did you have any role in the litigation
16 concern about the health of children led us to '6 that -- let me strike that.
17 consider every possible avenue to a lawsuit 17 What happened after the Commission
18 before reaching today's decision.” 18 issued the complaint?
19 Q. Could you read, please, the last 19 A. | was involved on Reynolds’ behalf in
20 sentence in the paragraph just prior to this 20 analysis of the data to both -- both to criticize
21 paragraph? 21 the FTC's position and to develop Reynolds’
22 A. “Because the evidence in the record 22 defense.
23 does not provide reason to believe that the law 23 (Beales Deposition Exhibit No. 9
24 has been violated, we cannot issue a complaint.” 24 was marked for identification.)
25 Q. After this decision from ihe Federal 25 BY MR. MacLEOD:
35 37
i Trade Commission, Dr. Beales, did you have any 1 Q. Dr. Beales, do you recognize the
2 more occasion to involve -- to be involved in 2 document that is marked as Beales Exhibit 9?
3 Commission investigations of Joe Camel 3 A. do.
4 advertising? 4 Q. Can you tell me what that document is?
5 MR. SINGER: Objection just as to form 5 A. It's the Respondent's final witness
6 as to whether whose -- whether it was with the 6 list in the FTC's administrative proceeding
7 Commission or with the defendants or -- 7 against R.J. Reynolds.
3 MR. MacLEOD: Let me restate the 8  Q. Can you tell me what that document
9 question. 9 describes, if anything, pertaining to you?
10 MR. SENGER: Thank you. 10 A. It describes my expected testimony in
i} BY MR. MacLEOD: LI the litigation.
12 Q. After this decision, Dr. Beales, did 12 Q. Can you read for us, Dr. Beales,
i3. you have any further occasion while at George 13 paragraph 2 of that description?
14 Washington University to be involved in an 14 MR. KLONTZ: Objection.
15 investigation of Joe Camel advertising? 15 THE WITNESS: “Dr. Beales’ testimony
16 A. | did. The investigation was 16 will discuss his research concerning youth
i7 subsequently reopened, I believe in 1996, and I 17 smoking behavior. He will discuss the model that
18 was involved in further analysis and further 18 he has developed regarding that behavior.
19 presentations on the effects of the advertising 19 Dr. Beales will testify that his research
20 campaign on teenage smoking, 20 confirms that neither advertising nor advertising
21 Q. Can you tell us what conclusions you 21 expenditures affect teenage smoking decisions.
22 reached during the course of that investigation? 22 Dr. Beales will testify concerning the risk
23 MR. KLONTZ: Objection. 23 factors, predictors, and determinants of underage
24 MR. SINGER: Objection. You may 24 smoking. He will testify that there is no
25 answer. 25 statistically significant relation between youth

10 (Pages 34 to 37)

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| smoking initiation and cigarette advertising in | ts that correct?

2 general, and no statistically significant 2 A. That's correct.

3 relation between youth smoking and Joe Camel 3 Q. And you're appearing in your personal
4 advertising in particular. He will also discuss 4 capacity, not as an FTC or U.S, Government
5 the evidence relating to brand-switching.” 5 employee; is that correct?

6 _ BY MR. MacLEOD: 6 A. That's correct.

7 Q. Is that statement an accurate 7 Q. Were you served with a subpoena for
8 description of the testimony you had planned to 8 today's deposition?

9 give? 9 A. Yes, I was.
10 MR. KLONTZ: Objection. 10 Q. Wasa witness fee tendered with. that
WW THE WITNESS: Yes, it is. IE subpoena?

12 BY MR. MacLEOD: 12 A. No, it wasn't.

13 Q. Did you provide that testimony in a 13 Q. Did you request a witness fee?

14 hearing on the Joe Camel case? 14 A. No, | didn't.

15 MR. KLONTZ: Objection. 15 Q. Were you offered a witness fee?

16 THE WITNESS: {did not. The case was 16 A. No, 1 wasn't.

17 dismissed or -- 1 believe it was ‘dismissed prior \7 Q. Are you receiving any other payments
18 to Reynolds presenting its defense. 18 for your testimony today?

19 MR. MacLEOQD: I'd like to take a break 19 A. No, I'm not.
20 off the record for a moment. 20 MR. MacLEOD: Objection.
21 THE VIDEQGRAPHER: This marks the end 21 BY MR. KLONTZ:
22 of videotape | of the deposition of Howard 22 Q. Prior to appearing here today to
23. Beales. We are going off the record. The time 23 testify, did you discuss your anticipated
24 on the screen is 10:21:46. 24 testimony with anyone?
25 (A break was taken.) 25 A. Hdid. | discussed it with our general

9 4

k THE VIDEOGRAPHER: This marks the 1 counsel's office, | discussed it with

2 beginning of videotape 2 in the deposition of 2 Mr. MacLeod.

3 Howard Beales. We are back on the record. The 3 Q. What were your discussions with

4 time on the screen 10:24:52. 4 Mr. MacLeod?

5 ME. MacLEOD: That concludes my direct 5 A. Wetalked about different matters that

6 examination. 6 he might want to cover in the deposition, and

7 MR. KLONTZ: Does anyone else have any 7 what | remembered about the investigation and my
8 questions before me* 8 roles init.

9 MR. GREEN: No. 9 Q. How many discussions did you have with
10 MR. KLONTZ: May we switch seats, 10 Mr. MacLeod?

if please? I don't want him tooking towards me when 1 A. It was probably three or four different

12) I'masking questions. Can we go off the record 12 telephone conversations.

13 while we switch seats here? 13 Q. Did he provide you with any documents

14 THE VIDEOGRAPHER: We are going off the 14 prior to your deposition?

15 record. The time on the screen is 10:25:50. 15 A. He sent over a Series of -- yes, he

16 (Pause in the proceedings.} 16 did.

17 THE VIDEOGRAPHER: We are back on the 17 Q. Which documents?

18 record The time on the screen is 10:26:02. 18 A, He sent a set of white papers and

19 CROSS-EXAMINATION BY COUNSEL FOR THE PLAINTIFF 19 presentations that had been previously presented
20 BY MR. KLONTZ. 20 tothe FTC. { believe there was the FDA's -- or
21 Q. Good morning. Dr. Beales. I'm David 21 a portion of the FDA's Federal Register Notice on
22 Klontz trom the Department of Justice 22 the rule making. There was some correspondence
23 A Good moming. 23 with the Commission or commissioners that

24 Q. I don't know if we got this on the 24s reflected some of my work.

23 record. You are appearing today without counsel: 75 Q. Did he send to you copies of all the

11 (Pages 38 to 41)

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42 44
1 documents that have been marked as exhibits i Q. In your discussions with Mr. MacLeod,
2 today? 2 did you discuss anything other than your
3 A. He did not. 3. anticipated testimony in your deposition here
4 Q. In vour discussions with Mr. MacLeod, 4 today?
5 did he discuss possible question areas that he, 3 A. I've had other discussions with
6 in fact, did not ask about today? 6 Mr. MacLeod that were separate conversations, but
7 A. He may have. 7 in the conversations about this matter, it's been
3 Q. Do you recall any? 8 strictly about the deposition today.
9 A. He discussed not asking about some 9 Q. The other conversations, did they
10 things that he, in fact, did not ask about. 10 relate at all to the case in which you're
tt Q. What were those things? II testifying today?
12 A. [had done -- as part of the 12 A. No, they didn't.
13 investigation, I had done numerous additional! 13 Q. During the time period about which
14 regression analyses as part of the fitigation 14 you've testified today, which [ beliéve runs from
15° that were all produced to the FTC, and we 15 the early 1990s to about 1999 or 1998 -- would
16 discussed not discussing them. 16 that be a fair characterization?
17 Q. Who first contacted you about your 17 A. Yes.
18 giving a deposition in this proceeding? 18 Q. During that time period, were you
19 A. I beheve my first contact was a 19 compensated for the work that you did on behalf
20 subpoena that arrived in the mail -- or wouldn't 20 of RJ. Reynolds?
21 have been the subpoena. It would have been a 21 A. [was certainly compensated for the
22 notice from the joint defendants that they wanted | 22 work ! did on behalf of R.J. Reynolds. There was
23 my testimony, along with a couple of other FTC 23 some of the -- some of the work that was done on
24° witnesses. 24 my own as an academic.
25 Q. Had you had any conversations about 25 Q. Can you give me an estimate of how much
43 45
1 your testifying prior to your receiving that 1 you were paid by R.J. Reynolds, either directly
2 document? 2 orindirectly, for the work that you did for them
3 A. No. 3 during that time period?
4 Q. Did you have any conversations with 4 A. lreally don't know.
5 anybody who represented the defendants in this 5 Q. Was it over $100,000?
6 case after you received the document as to why 6 A. It could have been.
7 they wanted your testimony? 7 Q. During that time period, did you have a
8 A. I did. 8 written agreement for the work that you did for
9 Q. What were those conversations? 9 RJ. Reynolds?
10 A. [talked to John Williams about why 10 A. No, I didn't.
]]_ they wanted my deposition. tH Q. You were first contacted by the law
12 Q. What did he tell you? 12 firm. were you not, to do the work for R.J.
13 A. He told me they wanted to get into the 13. Reynolds?
I4 record some of the work that [had done on the 14 A. Ebelieve so, yes.
13 Joe Camel investigation. 15 Q. The law firm of Collier -- at the time
16 Q. Did you ask them why they wanted to do 16 it was Collier, Shannon, Rill & Scott; is that
i? that? 17 correct?
i8 A. Tasked him why it was necessary, and 18 A. It may have been Collier, Shannon &
19 he said it wasn't clear they could get the work {9 Scott then because Rill was at the Justice
20 into the record otherwise. 20 Department. I'm not clear about the timing,
21 Q. Did he tell you what their intended 21 but --
22 purpose was for getting the work into the record? | 22 Q. When you were paid --
23 A. No, he didn't. 33 A. But same firm.
24 Q. Did you ask? 24 Q. When you were paid for your work that
25 A. No, } didn't. 25 you did for R.J. Reynolds, who paid you?

12 (Pages 42 to 45}

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l A. Collier Shannon. | whether there was any conflict or appearance of
2 Q. Did you have any discussions with them 2 conflict in that particular matter.

3. as to why your relationship was with them rather 5 BY MR. KLONTZ:

4 than directly with R.J. Reynolds? 4 Q. is the Mr. Meyers you just referred to

5 A. No. it was -- [ did other consulting 5 with the campaign for tobacco-free kids?

6 with Collier Shannon, and that was -- that was 6 A. Lbelieve he is, yes.

7 the general arrangement. 7 Q. Was that letter sent by you as an

8 Q. You never asked why that was the 8 employee of the Federal Trade Commission?

9 arrangement? 9 A. Yes, it was. :
10 A. Not that I recall. 10 MR. KLONTZ: Counsel, may we have a
11 Q. Were you aware of the federal lawsuit I] copy of that fetter?

12 that forms the basis for this case when it was 12 MR. SINGER: [ don't have a copy of it.
13 filed? 13. I will take it into consideration as to whether I
14 A. [saw the press stories at the time, 14 can find it, and you'll get it.

15 yes. 18 BY MR. KLONTZ:

16 Q. Did you have any discussions with 16 Q. Do you have a copy of that letter at

17 anybody from the defendants or who spoke on 17 your office?

18 behalf of the defendants concerning that lawsuit 18 A. [presume I do somewhere.

19 after it was filed? 19 Q. We would ask for a copy.
20 A. Not in any substantive way. It may 20 Whose decision was it that you would
21 have been mentioned in conversation, but | was -- 21 recuse yourself from these matters?
22? | mean, J was never involved in the lawsuit. 22 A. Et was mine.
23 Q. For your current position with the FTC, 23 Q. Prior to your sending the letter to
24 were you required to be confirmed by the senate? 24° Mr. Meyers. did you discuss with anyone at the
25 A. [was not. 25 FTC the recusal decision?

47 49

1 Q. Atthe FTC, are you now recused from l A. Idid. I discussed it with the General

2 considering certain matters relating to 2 Counsel's office, I discussed it with the

3 cigarettes and smoking? 3. chairman.

4 MR. SINGER: I'm going to object to the 4 Q. Are there presently ongoing matters at

5 extent it might call for -- or caution you not to 5 the FTC from which you are recused?

6 go into any confidential discussions you may have 6 MR. SINGER: | would instruct you that
7 had with General Counsel's office. However, you 7 you can respond to that as a yes or no, but you
8 can answer factually what you do. 8 cannot -- if they're nonpublic matters, not to

9 THE WITNESS: [| am recused on certain 9 identify those matters.

10 cigarette advertising matters. 10 THE WITNESS: Yes, there are.

1 BY MR. KLONTZ: i] BY MR. KLONTZ:

12 Q. State for me as fully as you can what 12 Q. Are there any public matters as to

13 the matters are from which you are recused. 13. which you are presently recused?

14 MR. SINGER: I would object and 14 A, There are. The Commission's cigarette
15 instruct you, to the extent that wouldn't involve 15 advertising report | did not participate in.

16 disclosure of nonpublic information about 16 Q. is that a report that is already

17 investigations that you might know about, but are [7 issued?

18 not working on, to not respond to that question. 18 A. Yes, it ts.

t9 To the extent it is public information, you may. 19 Q. When was it issued?
20 THE WITNESS: There is a letter to Matt 20 A. [don't know precisely. Within the
21 Meyers, I believe it's from me, that states the 21 last couple of months.
22 matters on which I had decided to recuse myself 22 Q. Any other public matters?
23° on any cigarette or tobacco matters. 23 A. ['m not sure if they're public or not.
24 My practice has been to consult with 24 Q. Are there nonpublic matters as to which
25 the General Counsel's office on each matter as to 25 you are presently recused?

13 (Pages 46 to 49)

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30 52
! MR. SINGER: You may answer that yes or 1 great deal about the substance of the matter
2 BO. 2 before finding out that there was a recusal
3 THE WITNESS: I believe there are. 3 issue.
4 BY MR. KLONTZ: 4 Q. What do you mean when you say who was
5 Q. How many? 5 representing someone?
6 A. The reason I say I believe is that | 6 A. Well, under the ethics rules, I had a
7 don't have, and J don't have a number, because if 7 financial relationship with Collier Shannon, and
8 I'm recused from it, I'm not involved in it, and 8 anyone that Coilier Shannon represents I'm not
9 sol don't hear about it, and I don't have a 9 automatically recused from, but on anyone Collier
10 count of how many such matters there might be. 10 Shannon represents, | need a waiver in order to
Wu Q. How is the decision made for you to be 1 participate -- F needed a waiver in the first
‘12 recused as to each of those matters? 12 year in order to partictpate.
13 MR. SINGER: I'm going to object and 13 Q. Do you still have a financial
14 instruct you that you may answer that to the 14 relationship with Collier Shannon?
15 extent it doesn't give away any privileged 15 A. No.
16 communications you've had with the General 16 Q. When did that end?
17 Counsel's office concerning that decision, but if 17 A. It ended a year ago, June 4th.
18 you can describe it generally without ig Q. What was that relationship?
19 confidential information being disclosed, you may 19 A. Colfier Shannon had hired me as a
20 doso. 20 consultant on a number of matters.
21 THE WITNESS: Some matters are -- some 21 Q. All relating to cigarettes?
22 matters I have recused myself from because of the 22 A. No.
23 scope of the recusal that was stated in the 23 Q. Did some of them retate to cigarettes?
24 letter to Matt Meyers. My deputies know about 24 A. {think the last thing related to
25 that, and on any matter that would fall within 25 cigarettes was considerably more than a year ago,
SL 33
| the scope of that recusal, there's no need to | but I don't know precisely.
2 consult with me. You know, the decision is 2 Q. When did you assume your present
3 already made, and so there is no consultation. 3 position at the FTC?
4 My general practice on other matters 4 A. On June 4th of last year.
5 where there might be a conflict issue has been to 5 Q. Why are you -ecused from certain
6 explain my possible contact to whichever of the 6 matters at the FTC?
7 deputy directors knows about the matter, and 7 MR. SINGER: 1'll object again to the
& then, in the first instance, they've talked to 8 extent it might call for confidential
9 the General Counsel's office about whether my 9 communications with the General Counsel's office
10 involvement would be appropriate, and then if it 10 or other counsel, but you may answer to the
11 seemed okay, I would talk further with the {1 extent you can.
12 Genera] Counsel's office about whether there is 12 THE WITNESS: It varies. There's some
13 or isn't a conflict in a particular case. 13 matters I'm recused on because I had worked on --
14 BY MR. KLONTZ: 14 because I had worked for the defendant in those
15 Q. Is it fair to say, then, that in some 15 matters. There are -- in the particular -- ina
16 instances in which you are presently recused, you | [6 case.
17 have had discussions about the nature of the 17 There are other matters that ['m
18 proceeding prior to your decision to recuse 18 recused on because of the potential for an
19 yourself? 19 appearance of a conflict of interest.
20 A. There are -- there were some matters 20 BY MR. KLONTZ:
21 Ike that. There were -- | mean, when | -- 21 Q. And what is that appearance in your
22 particularly in the first year | was there, there 22 mind?
23° were a number of matters where [ was recused 23 MR. SINGER: Objection. You may
24 because of who was representing someone, and 24 answer,
25 particularly in those cases, f may have known a 25 THE WITNESS: In my mind, it's a prior

14 (Pages $0 to 55)

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ue.

54
financial relationship might color, or might
appear to color my judgment about a particular
matter.

BY MR. KLONTZ:

Q. Have you ever worked for any cigarette
company, been an employee of?

A. No.

Q. Have you ever been an employee of any
advertising agency?

A. No.

Q. Your testimony this morning was that
after you prepared the document marked as
Exhibit 3, the April 3, 1992 -- April 2, 1992
report, you were given certain data by R.J.
Reynolds; is that correct?

A. Yes.

Q. - What data had you relied upon to
prepare what has been marked as Exhibit 3?

Q. I take it you prepared other versions
of Exhibit 4 using that data also?

A. Yes.

Q. Was Exhibit 3 reviewed by Collier
Shannon prior to its submission to the FTC?

A. Yes. it was.

Q. Did Collier Shannon make suggested
edits to. that document before the version that
was presented, in fact, was presented?

A. I can't recall specifically, but that's
quite likely,

Q. To your knowledge, did anyone at R.J.
Reynolds review Exhibit 3 prior to its
presentation to the FTC in the form that it
appears here?

A. I don't know.

Q. During the time that you did work for
R.J. Reynolds, did you have meetings and

Saeuaune

A. Exhibit 3 is based -- there may be some
published data that was employed tn that. I'd
have to look through it more carefully, but
Exhibit 3 is essentially based on an analysis of

discussions with personne! from R.J. Reynolds?
A. Yes, I did.
Q. Did you have meetings and discussions
with lawyers from R_J. Reynolds as opposed to

Ww WD

ho ©

BOD KOR ee ee meee ee ee

7M Owen Kaun bw hw |] ow waa be le

23 the published studies themselves and the data 3 outside attorneys?
24 that they presented in the published versions of 24 A. Yes. I did.

be
A
bo
wy

those studies.

Q. Now, if you look at Exhibit 4, the

35 57

] Q. So your analysis in Exhibit 3 did not i first footnote at the bottom of the first page,

2 go beyond the studies themselves? You did not 2 the third to last sentence says, “The article was

3 look at the actual data that was used to prepare 3 drafted independently, and was not reviewed by

4 those studies? 4 Reynolds prior to submission.”

5 A. At that time, I did not have access to § Is that statement correct?

6 the actual data that was used to prepare those 6 A. Yes, it is.

7 studies. 7 Q. What did you mean by “drafted

8 Q. And what was the data that you were 8 independently," as you use those terms in this

9 given by RIR after you had prepared Exhibit 3? 9 article?

10 A. tt was RJR that acquired the tape of 10 A. I mean I wrote it on my own without

Il the California tobacco data, the California 1} consultation.
12 tobacco survey data, and R.J. Reynolds provided 12 Q. Did you receive payment from R.J.
13. advertising expenditure data for California, for 13 Reynolds, at least in part, for the preparation
14 different geographic regions in Califomta, for 14 of this article?
15 Camel, for Marlboro, for Newport, and for the 15 A. For the preparation of the articie?
16 cigarette industry as a whole. 16 No.
17 Q. Do you still have that data? V7 Q. Drtd you receive payment from R.J.
18 A. Lhave a machine readable version of 18 Reynolds for any of your work in connection with
19 that data. I don't know whether | have a paper 19 the preparation of this article?

20 version or not. 20 A. lreceived pavement from Reynolds for
21 Q. And which of the exhibits that have 21 some of the underlying statistical analyses that
22 been marked today were prepared using the data 22 are reflected in this article. There were other

hte
Lad

23 that RJR presented to you?
24 A. Exhibit 4. and at least some of the
25 tabs in Exhibit 7.

analyses that were run at different times for
which | did not receive payment.
Q. Who are the two people identified in

Mm to
fe

15 (Pages 54 to 37)

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58
the second to last sentence in the footnote on

60
Q. To anyone else?

I 1
2 the first page of this article? 2 A. It was submitted to Economic Inquiry-
3 A. Theresa Burke was a research assistant 3 LE believe it was -- it would have been a
4 at Georgetown Economic Services. Tim Muris is 4 subsequent version that was submitted to Economic
5 a-- was a professor at George Mason Law Schao! 5 Inquiry. The only place this particular version
6 at the time this was done. 6 was submitted was the Journal of Law and
7 Q. What position does Mr. Muris hold now? 7 Economics.
& A. He's the Chairman of the Federal Trade 8 Q. Looking at all the different versions
9 Commission. 9 of this article, were there any other
10 Q. Do you know what position Ms. Burke 10 publications to which any of those versions was
11 holds now? if submitted other than the ones you've identified
12 A. Ido not. 12 already?
13 Q. The documents marked as Exhibits 3 and 13 A. Yes, there were, but | would have to
14 4 can fairly be characterized as cross sectional 14 check as to exact -- [ don’t recalf for certain
15 as opposed to longitudinal studies; is that 15. exactly where I sent it.
16 correct? 16 Q. Were any of the versions published by
WW MR. MacLEOD: Objection. 17 any publication?
18 MR. SINGER: I'll join the objection. 18 A. They were not.
19 You may answer. 19 Q. Were you advised of the reasons for
20 THE WITNESS: Yes, they are. 20 nonpublication by any of the publications to whom _
21 BY MR. KLONTZ: 21 you submitted it?
22 Q. Were either of these presentations or 22 A. Yes, I was.
23 articles peer reviewed prior to their publication 23 Q. What were those reasons?
24 or presentation to the FTC? 24 A. The one I like best was from the
25 MR. SINGER: I'm going to object to 25 Journal of Law and Economics, which said the
39 61
1 form, it's compound, because it might be | conclusions were obvious and it wasn't
2 different answers for -- 2 sufficiently related to the ongoing policy
3 BY MR. KLONTZ: 3. debate. There were other reasons from other
4 Q. Let's strike the question. Were either 4 publications.
5 of these articles peer reviewed prior to their 5 Q. Do you recall what those reasons were?
6 submission to the FTC? 6 A. Not in detail, no.
7 A. Exhibit 3 was not. Exhibit 4 had been 7 Q. How about in general?
8 submitted for publication prior to its submission 3 A. There were criticisms of the
9 tothe FTC, Whether it had been -- I don't 9 specification, of the model, and I guess that's
10 recall] the timing as to when J got a peer review, 10 probably the best general characterization.
]] whether that was before or after it was submitted i Q. To your knowledge. have there been
12 tothe FTC. It was submitted for publication 12 articles published in any publications conceming
13 prior to its submission to the FTC. 13 the effect of the Joe Camet advertising campaign
i4 Q. Was it published? 14 on underage smoking?
15 A. [t was not, 15 A. There have been, yes.
16 Q. Was there a peer review of this article 16 Q. Looking again at Exhibit 4, the very
i? at any time? 17 last sentence of footnote I, I see a reference to
8 A. Yes, there was. 18 remaining errors. Are there other errors in this
19 Q. By whom? 19 article to which this footnote refers?
20 A. {-- well, as is typical of the peer 20 MR. MacLEOD: Objection.
21 review process, they're anonymous. 2\ MR. SINGER: Objection to form.
22 Q. To which publication did you submit the 23 BY MR. KLONTZ:
23 article for publication? 33 Q. Let me withdraw the question and ask
24 A. [submitted it inttially to the Journal 24 - you a different question.
25 of Law and Economics. 25 What did you mean by this particular

16 (Paves 58 to 61)

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62 6
1 sentence in this footnote? | context of cigarette smoking and advertising?
? A. This is a customary kind of assumption 2 MR. SINGER: Objection. You may
3 of responsibility on the part of an author, in 3 answer.
4 the economics profession at least. Other people 4 THE WITNESS: Well, there's models that
5 may have heiped, but if there's problems, it's my 5 are sometimes characterized as hierarchy of
6 fault. 6 effects models of -- at least in the economics
7 Q. Wouldn't it be a fair reading of this 7 literature, of where there may be effects at
8 sentence to suggest that certain errors in this 8 different levels in a decision-making process.
9 publication are not your responsibility? 9 BY MR. KLONTZ:
10 MR. SINGER: Objection. 10 Q. Does the term to you have any
N1 MR. MacLEOD: Objection. 11 application to the issue of whether cigarette
12 THE WITNESS: | don't think so. 12 advertising has any effect on the decision to
13 BY MR. KLONTZ: ‘13. smoke by underage smokers?
14 Q. What is ihe purpose of the term 14 MR. SINGER: Objection. You may
15 “remaining” as it is used in that sentence, then? 15 answer.
16 A. Well, one hopes that errors are i6 niR. MacLEOD: Objection.
17 corrected along the way. 17 THE WITNESS: I don't think it's a
ig Q. Have you prepared any publications or 18 particularly useful way to think about the issue.
19 documents that, in your view, are in any way i9 BY MR. KLONTZ:
20 critical of the tobucco industry? 20 @. The conclusions you drew in Exhibits 3
21k MR, SINGER: Objection. You may 21 and 4 and in your other presentations to the FTC
2? answer. 22 on behalf of R.J. Reynolds were that the Joe
23 MR. MacLEOD: Objection. 23 Camel advertising campaign did not have an effect
24 THE WITNESS: Yes, I have. 24 upon or induce underage smokers to smoke Camel
25 BY MR. KLONTZ: 25 cigarettes, is that a fair characterization?
63 65
l Q. What are those? i MR. SINGER: Objection.
2 A. It's work I did for the Federal Trade 2 THE WITNESS: Noa, it's not.
3 Commission when | was there in the 1980s. 3 BY MR. KLONTZ:
4 Q. Describe for me as best you can what 4 Q. Recharacterize that for me, if you
5 those documents were. 5 could, please.
6 MR. SINGER: I'm going to object and 6 MR. SINGER: Objection.
7 instruct you that to the extent that might call ? THE WITNESS: 1 concluded that it
8 for nonpublic information, I'm instructing you 8 didn't cause them to smoke cigarettes.
9 notto answer. To the extent that 1s public, you 9 BY MR. KLONTZ:
10 may respond. 10 Q. You concluded that there were other
jj THE WITNESS: { drafted the letter that 11 factors that caused underage cigarette smokers to
12 became the Bureau Director's letter to Congress 12 smoke cigarettes; is that correct?
13° recommending the rotational warning legislation. | §3 MR. SINGER: Objection.
14 BY MR. KLONTZ: 14 THE WITNESS: That's correct.
15 Q. Have you heard of the term “hierarchy 15 BY MR. KLONTZ:
16 of effects"? [6 Q. Did you make any attempt to determine
17 A. [have. {7 whether the Joe Camel advertising campaign, when
18 Q. What does that term mean to you? 18 viewed by persons under 18, caused them to begin
19 MR. SINGER: Objection. You may 19 smoking R.J. Reynolds’ cigarettes once they
20 answer. 20 turned 187
31 THE WITNESS: You need to give mea 21 MR. SINGER: Objection. You may
22 context because its meaning could depend on the | 22 answer.
23 © context. 23 THE WITNESS: Fm not sure | understand
24 BY MR. KLONT?: 24 the question.
25 Q. Does it have any meaning to you in the 25 BY MR. KLONTZ2:
L_

17 (Pages 62 to 65)

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66

Q. Do you believe it is possible that
advertising may influence a person who sees that
advertising to try that product, but not
immediately?

MR. MacLEOD: Objection.

MR. SINGER: Objection.

THE WITNESS: It's certainty possible,
that's the reason for looking at either
cumulative advertising over a fong period of time
or at lagged advertising at prior times in order
to allow for that kind of a possibility.

BY MR. KLONTZ:

Q. In connection with the preparation of
the studies that led to Exhibits 3 and 4, did you
make any attempt to determine, as to persons who
began smoking at age 18 or later, what caused
them to begin smoking?

MR. SINGER: Objection.

THE WITNESS: I didn't do any
independent analyses of that question. In some
of the work -- well, let me take that back.

The TAPS sample, the Teenage Attitudes
and Practice sample, that is in -- that was also
used in the preparation of Exhibit 4, is a sample
that certainty had 18 and 19-year-olds, and at

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68

BY MR. KLONTZ:

Q. Look at Exhibit 7, please, Tab 2, the
first bullet point under the chart. Do you
believe today that that is a fair conclusion?

MR. SINGER: Objection.

MR. MacLEOD: Objection.

THE WITNESS: That if the campaign
caused youth to smoke, there should be an
increase in underage smoking after the campaign
began ata minimum. Yes, that is a necessary,
but not sufficient condition.

BY MR. KLONTZ:

Q. Let me ask you to posit this scenario
then, that absent the campatgn, there would have
been a dramatic decrease in underage smoking.

MR. SINGER: Objection.

MR. MacLLOD: Objection.

MR. KLONTZ: There's not 2 question
yet, so there's nothing to object to.

MR. SINGER: Oh, sorry.

BY MR, KLONTZ:

Q. Ifwe make that assumption, is it
possible that the campaign induced underage youth
to smoke even though there was not an increase in
underage smoking?

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2

67

least some of them would have started smoking at
18 or £9.
BY MR. MacLEOD:

Q. And did that study attempt to determine
what caused those [8 and 19-year-olds to begin
smoking?

A. itdid. They're part of the sample,
and the factors that influence their smoking
decisions are reflected in the regression
results, just as the decisions of younger teens
are reflected.

Q. Which page? Is that Table 3 you're
referring to?

A. The one J was looking at was Table 2.

Q. That's on page 19?

A. Yes, sir, but any of the TAPS
samples -- any of the results that include
results from TAPS would also include some 18 and
19-year-olds.

Q. And looking at Table 2 on page 719,
where is the effect of advertising mentioned on
that table?

MR. MacLEOD: Objection.
THE WITNESS: Advertising is not
included in those models.

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MR. SINGER: Objection.

MR. MacLEOD: Objection.

THE WITNESS: The issue is an increase
compared to what, and the right compared to what
is compared to what it would have been in the
absence of the campaign.

BY MR. KLONTZ:

Q. And was that determination made of that
particular question? Was an answer found as to
that particular question?

MR. MacLEOD: Objection.

MR. SINGER: Objection.

THE WITNESS: Well, that's the thrust
of the ordered logistic models and the analysis
of the California advertising data, is that
advertising exposure doesn't influence the
incidence of smoking.

BY MR. KLONTZ:

Q. So advertising is Just a waste of
money?

MR. SINGER: Objection.

THE WITNESS: No, advertising is useful
to consumers and profitable to manufacturers
because it provides information that's relevant
to brand choice.

18 (Pages 66 to 69)

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70 72

BY MR. KLONTZ: in your work on the R.J. Reynolds matter?

A. I did. [n various analyses, I used
advertising over the 3-year history of the Camel
campaign, both total advertising over that period
and in 6-month increments throughout that period,
to allow for any delayed effect of advertising on
subsequent decisions.

Q. What did you find?

i

2 Q. Was the Joe Camel advertising by RJ.
3 Reynolds in any way useful co under age 18

4) consumers in California?

5 MR. SINGER: Objection.

6 MR. MacLEOD: Objection.

7 THE WITNESS: [don't know.

8g MR. KLONTZ: [don't have any other
49

SRM RAB O MHOC OH AN RW

questions. Thank you, Dr, Beales. Time? Are we A. {didn't --
10 finished? MR. SINGER: Objection. You may
tt MR. MacLEOD: I have some redirect. answer.
THE VIDEOGRAPHER: Would you like this BY MR. MacLECD:
13 off the record? Q. Did you find -- did you reach any
i4 MR. KLONTZ: Yes, please, so 1 can note conclusions as a result of that work?
15. my time. A. [did not find any evidence of Jagged
{6 THE VIDEOGRAPHER: Okay. We're going effects of advertising on smoking decisions.
~-| 17 off the record. The time on the screen is MR. MacLEOD: No further questions.
1B 11:08:46. MR. KLONTZ: No other questions.
19 (Pause in the proceedings.) THE VIDEOGRAPHER: This marks the end
0 THE VIDEOGRAPHER: We are back on 20 of the deposition of Howard Beales. We are going
It record, The time on the screen is 11-09-26. 2) offthe record. The time on the screen is
22 REDIRECT EXAMINATION BY COUNSEL FOR R.J. REYNOLDS 72 14:42:32.
3 BY MR. MacLEOD: 23 MR. KLONTZ: You have the right to read
24 Q._-Dr. Beales. did your appointment as 24 your deposition and make any changes. Do you
25 Bureau Director involve the approval of any 2§ want to do that?

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person or agency?

A. Ebelieve it was just the Chairman's
decision.

Q. Can we retum to Beales Exhibit 1,
please? Could you please read the first
paragraph of Exhibit 1?

A. "Federal Trade Commission Chairman
Timothy J: Muris, with the concurrence of his
fellow Commissioners, has named a senior staff
team with extensive experience in the private
sector, in academia, and at the FTC."

Q. Did the commissioners vote on your
appointment as Bureau Director?

MR. KLONTZ: Objection.

MR. SINGER: You may answer.

THE WITNESS: { guess so. [don't
know.

73

MR. SINGER: It's up to you if you want
to make sure it's accurate. | would recommend
that you do. [‘m not your counsel, but i
generally recommend that to people.

THE WITNESS: Yeah, ] suppose I do.

MR, KLONTZ: I'd like to also note on
the record the time used by each side here since
we're keeping careful track of time used, so |
don't know if anyone else has done the
calculation, but I've got 70 minutes for your
side and 45 for mine.

MR. MacLEOD: I would like to note for
the record that the court reporter has been
keeping track of the time; is that correct?

THE VIDEOGRAPHER: [ have not, but |
can do it real quick.

MR. MacLEOD: I would ask the court

18 BY MR. MacLEOD:

19 Q. Dr. Beales, did you took at the

20 possibility that advertising could cause a

21 delayed decision to smoke in any work that you
22 did in connection with this matter -- | beg your
23 pardon. Let me restate that.

24 Did you look at the possibility of

25 advertising causing a delayed decision to smoke

reporter to please --

THE VIDEOGRAPHER: I'm the
videographer. | apologize. .

MR. MacLEOD: Videographer. With the
stipulation that | assume it is a good faith
estimate of the time that has passed, 1 am
willing to accept for present purposes, subject
to verification, the time periods that counsel

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19 (Pages 70 to 73)

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4 76
| for the Department of Justice has announced. l CERTIFICATE OF NOTARY PUBLIC
2 MR. KLONTZ: Fine. That's it? 2 N ,
3 MR. MacLEOD: That's it. Bod Fe Nt JAQUES, @ Notary Public in
4 (Whereupon, at 11:15 A.M.. the taking | + and for the District of Co ak 4 * herebe om the
5 f the instant deposition was 5 foregoing deposition was taken, do hereby certify
° P 6 that witness whose testimony appears in the
6 concluded.) 7 foregoing pages was duly sworn by me; that the
g0ing pages was duly y A
7 8 testimony of said witness was taken by me in
8 9 shorthand at the time and place mentioned in the
9 10 caption hereof and thereafter reduced to
10 It typewriting under my supervision; that said
11 12 deposition is a true record of the testimony
13 given by said witness; that [ am neither counsel
12 & ¥
3 14 for, related to, nor employed by any of the
15 parties to the action in which this deposition is
14 16 taken; and, further, that { am not a relative or
15: 17 employee of any attorney or counsel employed by
16 18 the parties thereto, nor financially or otherwise
\7 - 19 interested in the outcome of the actions.
18 20
19 21
20 Dawn A. Jaques, C.S.R.
2I 22 Notary Public in and for
2 District of Columbia
23
23 4
24 My commission expires:
25 25 December 14, 2004.
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\ UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
2
wtnnenseencenenenceeeeneecens x
3.) UNITED STATES GF AMERICA,
4 Plaintiff. ;
Case Numbey
5 vs. 99-2496 (GK)
6 PHILIP MORRIS INCORPORATED.
etal. :
7
Defendants
Bo nanan nnn nnn nn nanan nnn X
9
ACKNOWLEDGMENT OF DEPONENT
10
li I J. HOWARD BEALES. do hereby
12 acknowledge that | have read and examined pages 4
13. through 74. inclusive. of the transcript of my
14 deposition taken on Thursday, June 20, 2002, and
15 that:
16 (Check appropriate box}
7 ( } the same ts a true. correct and
complete transcription of the answers
18 given by me to the questions therein
recorded
19
{ except for the changes noted in
26 the attached errata sheet, the same is
a true, correct and complete
21 transcription of the answers given by
, me to the questions therein recorded.
,
3
DA nerecet ee eee eee ene eect
DATE SIGNATURE
25 ,
L ——--F

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UNITED STATES OF AMERICA V PHILIP MORRIS, INC,

WITNESS: J. HOWARD BEALES, Ii
DATE: JUNE 20, 2002

EXHIBITS: # 1-9

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